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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN


 MARK MARKHAM, GREGG DOUD, and
 JEROME GILBERT, individually and on behalf
 of all others similarly situated,                  Civil Action No.: 19-cv-00232-JTN-SJB

                              Plaintiffs,

        v.

 NATIONAL GEOGRAPHIC PARTNERS, LLC,

                              Defendant.


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs Mark Markham,

Gregg Doud, and Jerome Gilbert hereby dismiss with prejudice all claims against Defendant

National Geographic Partners, LLC.

 Dated: New York, New York                      BURSOR & FISHER, P.A.
        January 27, 2020
                                                By:    /s/ Philip L. Fraietta
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